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                                               THE CITY OF NEW YORK
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                                                               October 20, 2020

 Filed via ECF
 Hon. Paul G. Gardephe, U.S.D.J.
 United States District Court
 40 Foley Square
 New York, N.Y. 10007

                      Re:   M.G. v. New York City Department of Education
                            Civil Action No. 17 CV 5692 (PGG/KNF)

 Dear Judge Gardephe:

        I am the Assistant Corporation Counsel assigned to defend Defendants New York City
 Department of Education (“DOE”), the City of New York (“City”), and DOE’s Chancellor sued
 solely in an official capacity (collectively "Defendants") in the above-referenced action. I write
 to request rescheduling of the next Court conference, presently scheduled for this Thursday, October
 22, 2019, at 10:00 a.m., because I have a conflicting medical appointment that morning. I have
 reached out to my adversary, and she consents to this request and asks that the Court reschedule the
 conference for next week. If Your Honor is available, my adversary, my client and I are available
 next Thursday, October 29, 2020, in the morning, which is identified in Your Honor’s rules as the
 Court’s regularly scheduled time for court conferences. We are also available between 2:00-4:30
 p..m. on Thursday, October 29, 2020, and between 11:30 a.m.-2:30 p.m. on Friday, October 30, 2020.
 This Defendants’ first request for the rescheduling of the October 22nd Court conference and
 Plaintiffs’ counsel does not object to this request. I thank the Court for its consideration of this
 request.

                                                Respectfully submitted,
 MEMO ENDORSED
                                                /s/
 The conference scheduled for October 22,
 2020 is adjourned to November 5, 2020 at       Janice Birnbaum
 10:00 am.                                      Senior Counsel

 cc. All Counsel of Record via ECF




   October 21, 2020
